                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:     JAMES JOHN KUBASKO
           AKA: JAMES J. KUBASKO, JR., JAMES
           KUBASKO, JR.,JAMES J. KUBASKO, JAMES
           KUBASKO,JAMES KUBASKO,JAMES JOHN
           KUBASKO, JR.

                         Debtor(s)
                                                                 CHAPTER 13
           CHARLES J. DEHART, III
           CHAPTER 13 TRUSTEE
                      Movant                                     CASE NO: 5-20-00462-RNO

           vs.

           JAMES JOHN KUBASKO
           AKA: JAMES J. KUBASKO, JR., JAMES
           KUBASKO, JR.,JAMES J. KUBASKO, JAMES
           KUBASKO,JAMES KUBASKO,JAMES JOHN
           KUBASKO, JR.

                         Respondent(s)

                              TRUSTEE’S MOTION TO DISMISS CASE

COMES NOW, on November 10, 2020, Charles DeHart, III, Standing Chapter 13 Trustee, through his
attorney, Agatha R. McHale, Esquire, moves this Honorable Court for dismissal of the above-captioned
Chapter 13 bankruptcy case in accordance with 11 U.S.C. Section 1307(c), due to material default by the
debtor(s) with respect to the terms of the plan.

Notice of hearing and other instructions are included with this Motion.

WHEREFORE, your Trustee prays that this Honorable Court enter an Order dismissing the above-captioned
case in accordance with 11 U.S.C. Section 1307(c).
Dated: November 10, 2020                           Respectfully submitted,

                                                         /s/ Agatha R. McHale, Esquire
                                                         ID: 47613
                                                         Attorney for Movant
                                                         Charles J. DeHart, III
                                                         Standing Chapter 13 Trustee
                                                         8125 Adams Drive, Suite A
                                                         Hummelstown, PA 17036
                                                         Phone: (717) 566-6097
                                                         Fax: (717) 566-8313
                                                         eMail: amchale@pamd13trustee.com


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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     IN RE:    JAMES JOHN KUBASKO
               AKA: JAMES J. KUBASKO, JR., JAMES
               KUBASKO, JR.,JAMES J. KUBASKO,
               JAMES KUBASKO,JAMES                             CHAPTER 13
               KUBASKO,JAMES JOHN KUBASKO, JR.

                                Debtor(s)
                                                               CASE NO: 5-20-00462-RNO
               CHARLES J. DEHART, III
               CHAPTER 13 TRUSTEE
                            Movant

                                                 NOTICE

NOTICE IS HEREBY GIVEN THAT Charles J. DeHart, III, Standing Chapter 13 Trustee for the Middle
District of Pennsylvania has filed a Motion to Dismiss for failure to make timely payments pursuant to your
Chapter 13 Plan.

YOU ARE HEREBY NOTICED that a HEARING with the Court has been scheduled on this motion. Any
matters not resolved shall be heard at the dismissal hearing.

                           December 2, 2020 at 09:30 AM
                           U.S. Bankruptcy Court
                           Max Rosenn U.S. Courthouse
                           197 S. Main Street
                           Wilkes Barre, PA

YOU ARE FURTHER NOTICED that you MUST attend the dismissal hearing unless one
of the following takes place.

1.     You have paid the following and have confirmed payment with Trustee DeHart's office.

                     AMOUNT DELINQUENT AS OF LAST MONTH: $ 17498.00
                          AMOUNT DUE FOR THIS MONTH: $251.00
                    TOTAL AMOUNT DUE BEFORE HEARING DATE: $17749.00

NOTE:
    ALL payments must be made by CERTIFIED CHECK, MONEY ORDER or through
    TFSBILLPAY.COM. NO PERSONAL CHECKS OR CASH WILL BE ACCEPTED!

        DO NOT send your payments REGISTERED, CERTIFIED, FEDERAL EXPRESS, UPS, or by any
        other special delivery service. Doing so will delay processing of your payment and may result in
        dismissal of your case.

        If submitting payment by U.S. First Class Mail mail to:
                  CHARLES J. DEHART, III, PO BOX 7005, LANCASTER, PA 17604

       If submitting payment using TFSBILLPAY.COM please allow 5 business days for payment to
be applied.
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2. You have entered into a valid stipulation with Trustee DeHart and that stipulation has been filed with
the Court, or

3. You have filed a voluntary conversion or a voluntary case dismissal with the U.S. Bankruptcy Court
and have served a copy of that motion upon Trustee DeHart.

FAILURE TO COMPLY WITH THE ABOVE WILL RESULT IN YOUR CHAPTER 13 CASE
BEING CALLED FOR DISMISSAL HEARING WITH THE COURT ON THE DATE AND TIME
AS SPECIFIED IN THIS NOTICE. THIS MAY RESULT IN DISMISSAL OF YOUR CASE.

                                                           Charles J. DeHart, III, Trustee
                                                           8125 Adams Drive, Suite A
                                                           Hummelstown, PA 17036
                                                           Phone: (717) 566-6097
Dated: November 10, 2020




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             JAMES KUBASKO, JR.,JAMES J.
             KUBASKO, JAMES
             KUBASKO,JAMES
                                                              CHAPTER 13
             KUBASKO,JAMES JOHN
             KUBASKO, JR.

                                                              CASE NO: 5-20-00462-RNO
                             Debtor(s)

             CHARLES J. DEHART, III
             CHAPTER 13 TRUSTEE
                         Movant

                                         CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on November 10, 2020, I served a copy of this Motion
to Dismiss, Notice and Proposed Order on the following parties by 1st Class mail, unless served
electronically.

TULLIO DeLUCA, ESQUIRE                                             Served electronically
381 N 9TH AVENUE
SCRANTON, PA 18504-


United States Trustee
228 Walnut Street                                                  Served electronically
Suite 1190
Harrisburg, PA 17101




JAMES JOHN KUBASKO
79 WEST SHORE DR
JEFFERSON TWP, PA 18436
                                                                   Served by 1st Class Mail




I certify under penalty of perjury that the foregoing is true and correct.

Date: November 10, 2020                             Liz Joyce
                                                    for Charles J. DeHart, III, Trustee
                                                    Suite A, 8125 Adams Dr.
                                                    Hummelstown, PA 17036
                                                    Phone: (717) 566-6097

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                                     eMail: dehartstaff@pamd13trustee.com




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                                                       CHAPTER 13
                       Debtor(s)

         CHARLES J. DEHART, III
         CHAPTER 13 TRUSTEE
                    Movant                             CASE NO: 5-20-00462-RNO

         vs.

         JAMES JOHN KUBASKO                            MOTION TO DISMISS
         AKA: JAMES J. KUBASKO, JR.,
         JAMES KUBASKO, JR.,JAMES J.
         KUBASKO, JAMES
         KUBASKO,JAMES KUBASKO,JAMES
         JOHN KUBASKO, JR.



                                        ORDER DISMSSING CASE

       Upon consideration of the Trustee’s Motion to Dismiss, it is hereby Ordered that the above-
captioned bankruptcy be and hereby is dismissed.




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